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 8                                   UNITED STATES DISTRICT COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
10    SINQUE BEIANA MORRISON,                           )   Case No.   ED CV 07-0954-GAF (PJW)
                                                        )
11                          Plaintiff,                  )
                                                        )   J U D G M E N T
12                   v.                                 )
                                                        )
13    DONNA GUNNELL GARZA, et al.,                      )
                                                        )
14                          Defendants.                 )
                                                        )
15
16           Pursuant to the Order Adopting Findings, Conclusions, and
17    Recommendations of United States Magistrate Judge,
18           IT IS ADJUDGED that the action is dismissed with prejudice.
19
20    DATED:         June 18, 2009
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24                                                    GARY A. FEES
                                                      UNITED STATES DISTRICT JUDGE
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28    C:\Temp\notesFFF692\Judgment_civil rights.wpd
